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                    EXHIBIT S
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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF LOUISIANA

 KATHLEEN MOLLER                                    *   CIVIL ACTION NO. 24-0228-WBV-DPC
                                                    *
 VERSUS                                             *   JUDGE WENDY B. VITTER
                                                    *
 MARTIAN SALES, INC; JOPEN, LLC,                    *   MAGISTRATE DONNA PHILLIPS
 a Texas limited liability company;                 *   CURRAULT
 JOHNSON FOODS, LLC, a Wyoming                      *
 limited liability company; LP IND., LLC,           *
 a Wyoming limited liability company;               *
 CAG HOLDINGS, LLC, a Wyoming                       *
 limited liability company; RMH                     *
 HOLDINGS, INC., a Wyoming                          *
 corporation; ABC INSURANCE                         *
 COMPANY and John Does 1-4.                         *
                                                    *
 ***********************************

               DEFENDANT LP IND., LLC’S RESPONSES AND OBJECTIONS
             TO PLAINTIFF’S SECOND SET OF REQUESTS FOR PRODUCTION

TO:     Plaintiff, Kathleen Moller, by and through her attorneys of record, Nelson W. Wagar, III,
        Sarah Wagar Hickman, Wagar Hickman, LLP, 1401 West Causeway Approach,
        Mandeville, Louisiana 70471 and Michael Cowgill, Tamara J. Spires, mctlaw, 1515
        Ringling Blvd., Suite 700, Sarasota, Florida 34236.

        Defendant LP Ind., LLC (“Defendant”), pursuant to the Federal Rules of Civil Procedure,

responds to Plaintiff’s Kathleen Moller’s Second Set of Requests for Production (“Requests”), as

follows:

                                     GENERAL OBJECTIONS

        1.      Defendant objects to the Requests to the extent that they are vague, ambiguous,

overbroad, unduly burdensome, oppressive, not relevant to the subject matter of this action, and

not reasonably calculated to lead to the discovery of admissible evidence.

        2.      Defendant objects to the Requests to the extent that they are contradicted by,

inconsistent with, or impose on Defendant any obligations in excess of the requirements of the

Federal Rules of Civil Procedure.


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        3.      Defendant objects to the Requests to the extent they seek information and materials

protected by the attorney-client privilege, attorney-work product doctrine, and any other applicable

privilege.

        4.      Defendant objects to the Requests to the extent that they seek information or

documents that constitute or contain trade secrets, proprietary information, and/or other

confidential information. Defendant will produce such information pursuant to the Protective

Order entered by the Court in this matter on December 17, 2024 [D.E. 62], and only if such

information is not subject to any other objections.

        5.      Defendant objects to the Requests to the extent that they seek information or

documents that are not in its possession, custody, or control and are equally or more easily

accessible by Plaintiff.

        6.      Defendant objects to the Requests to the extent they seek information or documents

outside the scope of the time, place, subject matter, and circumstances of the occurrences

mentioned or complained of in the Second Amended Complaint, dated February 6, 2024 (the

“Complaint”). Paragraphs 14 and 17 of the Complaint allege that injuries were suffered on

February 6, 2023, allegedly after consumption of an unspecified kratom product. Accordingly,

actions or activities by Defendant after February 6, 2023—as well as issues, documents, or

communications in connection with activities other than the production and/or distribution of the

kratom product Plaintiff allegedly consumed—do not give rise to Plaintiff’s cause of action.

Subject to the foregoing objections and all applicable Specific Objections, Defendant will search

for and produce documents for the following dates: January 1, 2020, through February 6, 2023.




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          7.    Defendant objects to these Requests to the extent they are not tailored sufficiently

to the issue of whether personal jurisdiction over Defendant in the State of Louisiana exists in this

action.

          8.    Defendant does not concede that any of the responses are or will be admissible

evidence at trial. Further, Defendant does not waive any objection, whether or not asserted herein,

to use any such answer at trial.

          9.    These Responses and Objections have been prepared pursuant to a reasonably and

duly diligent investigation and search for the necessary information.

                              SPECIFIC OBJECTIONS TO DEFINITIONS

          1.    Defendant objects to the definition of “documents” to the extent that it seeks

information not relevant to the subject matter of this litigation or is otherwise protected by the

attorney-client privilege or work product doctrine.

                       SPECIFIC RESPONSES AND OBJECTIONS TO
                      SECOND SET OF REQUESTS FOR PRODUCTION

REQUEST NO. 1:

Produce all organizational charts or documents that describe or identify the organizational
structure of LP Ind., LLC, including all affiliates, subsidiaries, or parent companies of LP Ind.,
LLC.

RESPONSE: Defendant objects to this Request to the extent it is duplicative of Request for

Production No. 4 in Plaintiff’s First Set of Requests for Production. Defendant objects to this

Request on the grounds that it is overbroad and unduly burdensome because it seeks “all

organizational charts or documents that describe or identify the organizational structure of

[Defendant], including all affiliates, subsidiaries, or parent companies of [Defendant],” which is

not reasonably tailored to the narrow issue of specific personal jurisdiction over Defendant for this

proceeding, which only concerns events which allegedly occurred in Louisiana in February 2023.



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        Subject to the foregoing objections, Defendant will conduct a reasonably diligent search

from January 1, 2020 through February 6, 2023 for documents sufficient to demonstrate its

organizational structure; to the extent Defendant discovers responsive documents, Defendant will

produce relevant, non-privileged documents in its possession, custody, or control.

REQUEST NO. 2:

Produce all documents that describe or identify the owners of LP Ind., LLC, from formation to
present.

RESPONSE: Defendant objects to this Request on the grounds that it is overbroad and unduly

burdensome because it seeks “all documents that describe or identify the owners of [Defendant],

from formation to present,” which is not reasonably tailored to the narrow issue of specific personal

jurisdiction over Defendant for this proceeding, which only concerns events which allegedly

occurred in Louisiana in February 2023.

        Subject to the foregoing objections, Defendant will conduct a reasonably diligent search

from January 1, 2020 through February 6, 2023 for documents sufficient to demonstrate its

ownership during the time period; to the extent Defendant discovers responsive documents,

Defendant will produce relevant, non-privileged documents in its possession, custody, or control.

REQUEST NO. 3:

Produce all documents that describe or identify the ownership percentages of all owners of
LP Ind., LLC, from formation to present.

RESPONSE: Defendant objects to this Request on the grounds that it is overbroad and unduly

burdensome because it seeks “all documents that describe or identify the ownership percentages of

all owners of [Defendant], from formation to present,” which is not reasonably tailored to the

narrow issue of specific personal jurisdiction over Defendant for this proceeding, which only

concerns events which allegedly occurred in Louisiana in February 2023. Defendant objects that

the ownership percentages of its owners—who are not located in Louisiana or incorporated under


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the laws of Louisiana—have no relevance to the claims and defenses in this lawsuit and no

relevance to specific jurisdiction over Defendant.

        Subject to the foregoing objections, Defendant will conduct a reasonably diligent search

from January 1, 2020 through February 6, 2023 for documents sufficient to demonstrate its

ownership during the time period; to the extent Defendant discovers responsive documents,

Defendant will produce relevant, non-privileged documents in its possession, custody, or control.

REQUEST NO. 4:

Produce all documents that describe or identify the owners of all affiliates, subsidiaries, or parent
companies of LP Ind., LLC.

RESPONSE: Defendant objects to this Request on the grounds that it is overbroad and unduly

burdensome because it seeks “all documents that describe or identify the owners of all affiliates,

subsidiaries, or parent companies of [Defendant],” which is not reasonably tailored to the narrow

issue of specific personal jurisdiction over Defendant for this proceeding, which only concerns

events which allegedly occurred in Louisiana in February 2023.

        Subject to the foregoing objections, Defendant will conduct a reasonably diligent search

from January 1, 2020 through February 6, 2023 for documents sufficient to demonstrate its

organizational structure; to the extent Defendant discovers responsive documents, Defendant will

produce relevant, non-privileged documents in its possession, custody, or control.

REQUEST NO. 5:

Produce all balance sheets and income statements for LP Ind., LLC from formation to present.

RESPONSE: Defendant objects to this Request on the grounds that it is overbroad and unduly

burdensome because it seeks “all balance sheets and income statements for [Defendant] from

formation to present,” which is not reasonably tailored to the narrow issue of specific personal

jurisdiction over Defendant for this proceeding, which only concerns events which allegedly



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occurred in Louisiana in February 2023. Indeed, the financial information of Defendant requested

herein is not relevant to the claims asserted by Plaintiff under the Louisiana Products Liability Act,

which does not authorize recovery of punitive damages. See Bladen v. C.B. Fleet Holding Co.,

487 F. Supp. 2d 759, 770 (W.D. La. Apr. 25, 2007) (“The LPLA… does not authorize punitive

damages.”); cf. Pierre v. Medtronic, Inc., No. CV 17-12196, 2018 WL 1911829, at *5 (E.D. La.

Apr. 23, 2018). Because Defendant’s financial information is irrelevant to the claims in this

proceeding, Plaintiff would only potentially be entitled to its discovery following a judgment of

liability. See Whale Cap., L.P. v. Ridgeway, No. CV 22-2570, 2023 WL 7220560, at *6 (E.D. La.

Nov. 2, 2023) (noting that “facts about the financial status of a party are generally not discoverable

before obtaining a judgment against the party”) (collecting cases). As no such finding of liability

yet exists, or may ever exist, this Request is premature. Defendant further objects to this Request

to the extent that it seeks information or documents that constitute or contain trade secrets,

proprietary information, and/or other confidential information.

        Subject to the foregoing objections, Defendant responds that its balance sheets and income

statements have no bearing on specific jurisdiction whatsoever, and are irrelevant to the claims in

this proceeding. Defendant is willing to meet and confer with Plaintiff regarding this Request.

REQUEST NO. 6:

Produce all U.S. Federal Income Tax Returns for LP Ind., LLC from formation to present.

RESPONSE: Defendant objects to this Request on the grounds that it is overbroad and unduly

burdensome because it seeks “all U.S. Federal Income Tax Returns for [Defendant] from

formation to present,” which is not reasonably tailored to the narrow issue of specific personal

jurisdiction over Defendant for this proceeding, which only concerns events which allegedly

occurred in Louisiana in February 2023. Tax records are considered “highly sensitive documents”

that need only be produced when relevant to the subject matter of the action and there is a


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“compelling need” for the information in the tax records because the information is not “otherwise

readily obtainable.” Tate v. DG Louisiana LLC, 653 F. Supp. 3d 316, 321 (E.D. La. Feb. 1, 2023).

Plaintiff has neither shown how such information is relevant to the subject matter of this action

nor that there is a “compelling need” for Defendant’s tax records. Defendant further objects to

this Request to the extent that it seeks information or documents that constitute or contain trade

secrets, proprietary information, and/or other confidential information.

        Subject to the foregoing objections, Defendant responds that its U.S. Federal Income Tax

Returns have no bearing on specific jurisdiction whatsoever. Defendant is willing to meet and

confer with Plaintiff regarding this Request.

REQUEST NO. 7:

Produce all documents relied upon, referenced, or otherwise reviewed in responding to Plaintiff’s
Second Set of Interrogatories to LP Ind., LLC.

RESPONSE: Defendant objects to this Request as overly broad and unduly burdensome, to the

extent it seeks “documents relied upon, referenced, or otherwise reviewed in responding to

Plaintiff’s Second Set of Interrogatories to [Defendant],” which were in themselves not reasonably

tailored to the narrow issue of specific personal jurisdiction over Defendant for this proceeding,

which only concerns events which allegedly occurred in Louisiana in February 2023. Defendant

further objects to this Request to the extent it seeks information and materials protected by the

attorney-client privilege, attorney-work product doctrine, and any other applicable privilege.

Defendant objects to this Request to the extent that it seeks information or documents that

constitute or contain trade secrets, proprietary information, and/or other confidential information.

        Subject to the foregoing objections, Defendant will produce non-privileged documents that

it relied upon, referenced, or otherwise reviewed in responding to Plaintiff’s Second Set of

Interrogatories to LP Ind., LLC.



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DATED: January 16, 2025

                                                 Respectfully submitted,

                                                     By /s/ Gwendolyn C. Payton
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                                                         HOLDINGS, LLC; RMH HOLDINGS, INC.;
                                                         MARTIAN SALES, INC.; and JOPEN, LLC.




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                                   CERTIFICATE OF SERVICE

        This is to certify that on the 16th day of January 2025, a copy of the foregoing document

was served on all counsel of record by electronic mail.



                                                     /s/ Gwendolyn C. Payton
                                                     Gwendolyn C. Payton




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